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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



NOBLE SYSTEMS CORP., INC.

                       Plaintiff,
                                                         Civil Action No. 8:16-cv-03406
       v.

AGR FIELD SERVICES, LLC, et al.

                       Defendants.




                                STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff Noble

Systems Corp., Inc. and Defendants AGR Field Services, LLC; AGR Group, LLC; All Global

Resources, LLC; All Global Resources, L.L.C.; EnergyCare, LLC; Energy Professionals, LLC;

Sales Verification Company, LLC; TeamWorks Marketing, LLC; US Power and Gas, Inc.;

Utilities Marketing Group, LLC; Utility Sales Management LLC; Utility Sales Management,

L.L.C.; Quantum Energy Holdings, LLC; Matt Judkin; Herb Zerden; and Adolfo Quintero

(collectively, the “AGR Defendants”), by and through their undersigned attorneys, respectfully

submit this joint Stipulation of Dismissal of this entire action – including all claims and

counterclaims – with prejudice and without costs of the above-captioned action.
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Dated: May 19, 2017


Respectfully submitted,


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 Attorneys for Plaintiff                     Attorneys for Defendants




Dated: ______________________, 2017                 SO ORDERED:
       Tampa, Florida


                                              UNITED STATES DISTRICT JUDGE
